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                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                           ERIE DIVISION



BETTE EAKIN, ET. AL.                    :
               Plaintiffs,              :
                                        :      Case No. 1:22-CV-340-SPB
       v.                               :
                                        :
ADAMS COUNTY BOARD OF                   :
ELECTIONS, ET. AL.                      :
                   Defendants.          :



  BRIEF OF DEFENDANT LANCASTER COUNTY BOARD OF ELECTIONS IN
               OPPOSITION TO EXPEDITED DISCOVERY


      Under the Court’s order dated January 9, 2023 (ECF No. 174), the Lancaster

County Board of Elections (“LCBOE”) adopts its brief in opposition to expedited

discovery and proposed order submitted in the companion case, NAACP et. al. v.

Chapman et. al. (ECF No. 197 in that case).



                                                 Respectfully submitted,

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